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                       EXHIBIT 2
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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                             )        MDL 2804
    OPIATE LITIGATION                                        )
                                                             )        Case No. 1:17-md-2804-DAP
    This document relates to:                                )
                                                             )        Judge Dan Aaron Polster
    County of Webb v. Purdue Pharma, L.P. et al.             )
    Case No. 1:18-op-45175-DAP (N.D. Ohio)                   )
                                                             )
    Employer-Teamsters Local Nos. 175 & 505                  )
    Health & Welfare Fund, et al. v. Purdue                  )
    Pharma L.P., et al.                                      )
    Case No. 1:18-op-45446-DAP (N.D. Ohio)                   )

                JOINT MOTION FOR PRELIMINARY INJUNCTIVE RELIEF

         Plaintiffs, the County of Webb, Texas, Employer-Teamsters Local Nos. 175 & 505 Health

& Welfare Fund, and Employer-Teamsters Local Nos. 175 & 505 Retiree Fund (collectively

“Plaintiffs”), by and through their undersigned attorneys, and pursuant to Fed. R. Civ. P. 65(a),

hereby request that this Court grant this request for a preliminary injunction directing pharmacy

benefit manager defendants Caremark, Express Scripts and OptumRx to make immediate edits to

their formularies, consistent with the March 2016 CDC Guideline and effective immediately:

         1.      For chronic pain 1 outside of active cancer, palliative and end-of-life care,
         no opioids are covered in the first instance. Step therapy using nonpharmacologic
         therapies 2 and nonopioid medications must be completed first.

         2.     For acute pain, any opioid, including the widely abused immediate-release
         opioids hydrocodone-acetaminophen, oxycodone-acetaminophen and codeine-


1
 The CDC Guideline defines chronic pain as pain lasting longer than 3 months or past the time of normal tissue
healing (which could be substantially shorter than 3 months, depending on the condition).
2
   Nonpharmacologic therapies include CBT, exercise therapy, interventional treatments, and multimodal pain
treatment. Nonopioid medications include NSAIDs (e.g., acetaminophen or ibuprofen), or certain medications that are
also used for depression or seizures.



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       acetaminophen, may only be covered for three-days. Prior authorization is required
       for any acute pain opioid prescriptions beyond this three-day limit.

       3.     Given overdose risks, prescription coverage is limited to amounts where
       daily dosages do not meet or exceed 50 MME/day absent prior authorization, and
       coverage should be excluded for dosages of greater than or equal to 90 MME/day.

       4.     To prevent overdose and treat opioid addiction, cover at least one
       formulation each of naloxone, methadone, buprenorphine, and naltrexone on the
       lowest formulary tier or otherwise waive cost-sharing for such treatments.
       Eliminate prior authorization requirements and quantity limits for all formulations
       of such treatments that are covered.

       Pursuant to Fed. R. Civ. P. 65(c), Plaintiffs respectfully move the Court to dispense with a

bond for the reasons set forth in in the accompanying Memorandum of Law, which states in detail

the bases for this Joint Motion and is hereby incorporated by reference herein.


Date: September 14, 2018

Respectfully submitted,

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